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19
                                UNITED STATES DISTRICT COURT
20                            NORTHERN DISTRICT OF CALIFORNIA
21
      CHASOM BROWN, WILLIAM BYATT,                  Case No.: 4:20-cv-03664-YGR-SVK
22    JEREMY DAVIS, CHRISTOPHER
      CASTILLO, and MONIQUE TRUJILLO                PLAINTIFFS’ ADMINISTRATIVE
23    individually and on behalf of all similarly
      situated,                                     MOTION TO CONSIDER WHETHER
                                                    GOOGLE’S MATERIAL SHOULD BE
24                                                  SEALED
                    Plaintiffs,
25
      vs.                                           CIVIL L.R. 79-5
26
      GOOGLE LLC,
27
                    Defendant.
28

                                                    PLAINTIFFS’ ADMINISTRATIVE MOTION REL: SEALING
                                                                            4:20-cv-03664-YGR-SVK
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1           Pursuant to Civil Local Rule 79-5, Plaintiffs respectfully ask the Court to consider whether
2    Google LLC’s (“Google”) material should be sealed.
3     Document or Portion of Document              Party Claiming      Basis for Sealing
      Sought to Be Sealed                          Confidentiality
4     Portions highlighted in yellow of            Google              Contains Material Designated
      Plaintiffs’ Response to Google’s Motion                          “Highly Confidential” by
5
      to Exclude Opinions of Plaintiffs’                               Google pursuant to the
6     Damages Expert Michael J. Lasinski                               Protective Order
      Excerpts of the transcript of the June 30,   Google              Contains Material Designated
7     2022 deposition of Sabine Borsay,                                “Highly Confidential” by
      attached as Exhibit 1 to the Lee                                 Google pursuant to the
8     Declaration                                                      Protective Order
9     Excerpts of the transcript of the August     Google              Contains Material Designated
      16, 2022 deposition of On Amir, attached                         “Highly Confidential” by
10    as Exhibit 3 to the Lee Declaration                              Google pursuant to the
                                                                       Protective Order
11    A document labeled GOOG-CABR-                Google              Contains Material Designated
      04324934, attached as Exhibit 4 to the                           “Highly Confidential” by
12
      Lee Declaration                                                  Google pursuant to the
13                                                                     Protective Order
      Excerpts from the May 24, 2022               Google              Contains Material Designated
14    deposition of Troy Walker, attached as                           “Highly Confidential” by
      Exhibit 5 to the Lee Declaration                                 Google pursuant to the
15                                                                     Protective Order
      A document labeled GOOG-CABR-                Google              Contains Material Designated
16
      04820567, attached as Exhibit 6 to the                           “Highly Confidential” by
17    Lee Declaration                                                  Google pursuant to the
                                                                       Protective Order
18    Excerpts from the March 10, 2022             Google              Contains Material Designated
      deposition of Sonal Singhal, attached as                         “Highly Confidential” by
19    Exhibit 7 to the Lee Declaration                                 Google pursuant to the
20                                                                     Protective Order
      Excerpts from the rough transcript of the    Google              Contains Material Designated
21    August 18, 2022 deposition of Bruce                              “Highly Confidential” by
      Strombom, attached as Exhibit 8 to the                           Google pursuant to the
22    Lee Declaration                                                  Protective Order
      A document labeled GOOG-CABR-                Google              Contains Material Designated
23
      04010128, attached as Exhibit 9 to the                           “Highly Confidential” by
24    Lee Declaration                                                  Google pursuant to the
                                                                       Protective Order
25    A document labeled GOOG-BRWN-                Google              Contains Material Designated
      00230425, attached as Exhibit 10 to the                          “Highly Confidential” by
26    Lee Declaration                                                  Google pursuant to the
27                                                                     Protective Order

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                                                         PLAINTIFFS’ ADMINISTRATIVE MOTION RE: SEALING
                                                                         Case No. 4:20-cv-03664-YGR-SVK
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      Excerpts from the transcript of the           Google             Contains Material Designated
1
      August 2, 2022 deposition of Steven                              “Highly Confidential” by
2     Weisbrot, attached as Exhibit 11 to the                          Google pursuant to the
      Lee Declaration                                                  Protective Order
3
            Under Civil Local Rule 79-5(f), Google, as the designating party, bears the burden of
4
     establishing that the designated material is sealable.
5
     Dated: August 19, 2022                        Respectfully submitted,
6
                                                   By: /s/ John A. Yanchunis
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                                                               Case No. 4:20-cv-03664-YGR-SVK
